                              United States District Court
                            Western District of North Carolina
                                   Charlotte Division

           Vanesea Nwobi,               )            JUDGMENT IN CASE
                                        )
               Plaintiff,               )             3:21-cv-00539-KDB
                                        )
                  vs.                   )
                                        )
   Commissioner of Social Security ,    )
                                        )
              Defendant,                )

 DECISION BY COURT. This action having come before the Court and a decision having been
rendered;

IT IS ORDERED AND ADJUDGED that Judgment is hereby entered in accordance with the
Court’s June 24, 2022 Order.

                                               June 24, 2022




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